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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

RONTEZ MILES,
                                             Civil Action No. 2:19-cv-18327-JXN-MF
                  Plaintiff,
                                                 JUDGE JULIEN XAVIER NEALS
       v.                                            JUDGE MARK FALK

THE NATIONAL FOOTBALL LEAGUE                   (ORAL ARGUMENT REQUESTED)
and JOHN DOES 1-5, JOHN DOES 6-10
                                                   Motion Day: October 19, 2020
                  Defendants.



   DEFENDANTS’ REPLY TO PLAINTIFF’S SUPPLEMENTAL OPPOSITION TO
           MOTION TO DISMISS THE AMENDED COMPLAINT

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                                        INTRODUCTION

       Plaintiff originally filed this action in August 2019. Shortly thereafter, the National

Football League (“NFL”) moved to dismiss Plaintiff’s Complaint. See ECF No. 4. Plaintiff

responded by seeking to introduce new facts in his opposition brief, ECF No. 15, leading the

Court to administratively terminate the motion and allow Plaintiff to file an amended complaint.

See ECF No. 21. The NFL filed a second motion to dismiss the Amended Complaint

(“Motion”), which was fully briefed on October 13, 2020. See ECF Nos. 26, 30, 32. Now,

nearly a year later—and four years after the events giving rise to his claims occurred—Plaintiff

once again asks the Court to consider “newly” discovered facts along with a New Jersey

Supreme Court ruling affirming an appellate court decision fully addressed by the parties in their

briefing on the NFL’s Motion.

       Plaintiff’s transparent effort to further delay consideration of the NFL’s Motion should be

rejected. Apart from Plaintiff’s failure to follow the rules for seeking leave to file a second

amended complaint, Plaintiff’s “newly discovered” evidence in fact largely mirrors existing

allegations in Plaintiff’s Amended Complaint. Plaintiff provides no explanation why this alleged

evidence, with even minimal diligence, could not have been included in Plaintiff’s original

complaint, much less his Amended Complaint. Given Plaintiff’s undue delay, Plaintiff’s request

that the Court consider this “new” evidence in ruling on the Motion should be denied.

       In any case, Plaintiff’s belated allegations merely confirm that Plaintiff’s claims should

be dismissed. Indeed, far from undermining the NFL’s arguments in support of dismissal based

on preemption under the Labor Management Relations Act (“LMRA”), Plaintiff’s “new”

allegations—which detail the process and respective roles of the NFL, players, and NFL Clubs in

seeking modifications to the equipment rules—underscore that Plaintiff’s claims cannot be



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decided without construing the NFL CBA and its incorporated rules governing players’ use of

protective eye shields.

       Plaintiff’s arguments based on the New Jersey Supreme Court’s June 8, 2021 decision in

Richter v. Oakland Board of Education, 246 N.J. 507 (2021), all of which were previously raised

in his opposition to the NFL’s Motion, also cannot save Plaintiff’s claims. Richter does not alter

the fact that Plaintiff’s Amended Complaint should be dismissed in its entirety for the reasons set

forth in detail in the NFL’s Motion.

       For these reasons, the NFL’s Motion to Dismiss should be granted.

                                         BACKGROUND

       Plaintiff is a professional football player formerly employed by the New York Jets (the

“Jets”), one of the 32 Clubs in the NFL. Am. Compl. (ECF No. 22) ¶¶ 3, 5, 7-8, 12. Plaintiff,

the Jets, and the NFL are bound by a collective bargaining agreement (“CBA”) governing the

terms and conditions of employment of all NFL players. Id. ¶ 8. The CBA requires all NFL

players and Clubs to follow the rules promulgated by the NFL concerning the operation of the

game. See Am. Compl. ¶¶ 5, 9. Relevant here, the Official Playing Rules specifically address

the type of equipment, including eye shields, that players may wear during games, as well as the

procedures that players must follow to obtain approval to use such equipment. See 2017 Official

Playing Rules of the NFL, Rule § 4, Art. 3 [Exhibit 1 to the Declaration of Lawrence P. Ferazani,

Jr. (ECF No. 4-2)]).1

       Plaintiff alleges that he suffers from alopecia areata, which causes photosensitivity and

requires that he wear a protective face shield while playing football. Am. Compl. ¶¶ 13-15, 41.

Plaintiff claims that his condition constitutes a “disability” and that he sought a “reasonable



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        A detailed summary of the CBA provisions relevant to Plaintiff’s claims is set forth in
the NFL’s Motion.
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accommodation” (the use of the protective shield) to enable him to “perform the requirements of

his job.” Id. ¶¶ 42-43. Plaintiff claims that an NFL equipment judge refused to permit him to

wear the shield in an August 19, 2017 preseason game, and, due to lack of protection from the

stadium lights, he collided with an opposing player and sustained a broken orbital bone. Id.

¶¶ 35-36, 45-46.

       Two years after his injury, Plaintiff filed this action in state court asserting claims for

disability discrimination under the New Jersey Law Against Discrimination (“LAD”), failure to

provide a reasonable accommodation under the LAD and the Americans with Disabilities Act

(“ADA”), and negligence. See Compl. (ECF No. 1-1). The NFL timely removed the case to this

Court and moved to dismiss Plaintiff’s Complaint in its entirety. See ECF Nos. 1, 4. In his

Opposition to the NFL’s Motion to Dismiss, Plaintiff sought leave to amend his Complaint

because it was filed under the more lenient state court notice pleading standard and because

additional “relevant” facts had come to light after he filed his Complaint. See ECF No. 15 at 1.

Plaintiff incorporated some of these “new facts” into his Opposition “by way of illustration,” but

noted that they were “not exhaustive of additional facts which may be added in a future

pleading.” Id. at 1, 6 n.3. Based on Plaintiff’s representations, the Court administratively

terminated the NFL’s motion and granted Plaintiff leave to amend his complaint. ECF No. 21.

       Plaintiff filed an Amended Complaint on June 23, 2020, see ECF No. 22, and the NFL

again moved to dismiss the Amended Complaint on three separate grounds: (1) Plaintiff’s state

law claims are preempted by the LMRA because their resolution requires the Court to interpret

the CBA and the incorporated rules governing players’ use of protective eye shields; (2)

Plaintiff’s state law claims are barred by the New Jersey Workers’ Compensation Act (“WCA”)

and do not fall within the narrow “intentional wrong” exception; and (3) Plaintiff failed to plead

facts necessary to support a claim for disability discrimination. See Motion (ECF No. 26).

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       After the Motion was fully briefed, see ECF Nos. 26, 30, 32, this Court referred the

parties to mediation. On August 16, 2021, the parties engaged in mediation but were unable to

reach a resolution. The NFL notified the Court that the mediation had terminated without

resolution and asked the Court to restore the Motion to active consideration. ECF No. 35. In

response, Plaintiff filed a letter with the Court asking for permission to file a supplemental brief

in opposition to the NFL’s Motion based on the New Jersey Supreme Court’s decision in Richter

and “a significant body of evidence” that Plaintiff had purportedly obtained since he filed his

Opposition on September 22, 2020. ECF No. 36.

                                           ARGUMENT

       Plaintiff’s belated request to introduce “new” allegations (which are largely redundant of

facts pled in his Amended Complaint) is procedurally improper and should be rejected.

Moreover, Plaintiff’s new allegations simply prove that his claims should be dismissed as

preempted by the LMRA and barred by the WCA and because Plaintiff fails to state a claim

under any of his theories of discrimination. Plaintiff’s reliance on Richter v. Oakland Board of

Education, 246 N.J. 507 (2021), which merely upheld the appellate court decision fully

addressed by the parties in their briefing on the Motion, similarly fails to save Plaintiff’s claims.

       I.      Plaintiff’s Request To Introduce “New” Evidence In Opposition To The
               NFL’s Motion To Dismiss Should Be Denied.

       Plaintiff’s effort to salvage his claims by introducing “new” factual allegations is both

improper and futile. As a threshold matter, Plaintiff’s “new” facts are not actually new. Plaintiff

states that he “recently learned” that each year since 2014, the Jets requested the NFL’s

authorization for Plaintiff to wear a protective eye shield due to his medical condition, and that

the NFL approved the request every year based on the Jets’ ophthalmologist’s examination and

recommendations. Pl.’s Suppl. Opp’n (ECF No. 39) at 1-2. Plaintiff further states that the NFL


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approved the request for the 2017-2018 season four days after the August 19, 2017 preseason

game in which an equipment judge did not permit Plaintiff to play with a shield. Id. Apart from

the fact that these allegations directly undermine any suggestion of discrimination, Plaintiff

essentially makes the same allegations in his Amended Complaint. See, e.g., Am. Compl. (ECF

No. 22) ¶¶ 17-19 (alleging that the Jets were aware of his alopecia and photosensitivity and he

underwent annual examinations that addressed his ocular history; ¶¶ 20-30 (alleging that the

NFL knew of Plaintiff’s condition and need for a protective shield; ¶ 31 (alleging that the NFL

permitted Plaintiff to use a protective shield at all times prior to August 19, 2017). Plaintiff

provides no basis for amending his complaint a second time merely to assert allegations virtually

identical to existing allegations in his complaint.

       In any case, even if these facts were somehow newly discovered—four years after the

events giving rise to Plaintiff’s claims—Plaintiff should not be permitted to introduce them now,

after Defendant’s Motion to Dismiss has been pending for over a year. For starters, this is the

second time Plaintiff has ignored the Court’s rules on amending pleadings by inserting factual

allegations in his opposition to the NFL’s motion dismiss. It is well-established that a court may

not rely on facts not included in the Complaint in ruling on a motion to dismiss. See Shorter v.

Quality Carrier, No. CIV. 14-4906 RBK/JS, 2014 WL 7177330, at *3 (D.N.J. Dec. 16, 2014).

Rather, the appropriate mechanism for curing pleading deficiencies is to file an amended

complaint pursuant to Fed. R. Civ. P. 15(a). Ocean City Exp. Co., Inc. v. Atlas Van Lines, Inc.,

No. CIV. 13-1467 JBS/KMW, 2013 WL 3873235, at *3 (D.N.J. July 25, 2013). Because

Plaintiff has not complied with the rules, his “new” allegations should be disregarded for this

reason alone.

       Nor should Plaintiff be permitted to amend his Complaint a second time. Leave to amend

a pleading should be denied where there is “undue delay,” or “futility.” Great W. Mining & Min.

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Co. v. Fox Rothschild LLP, 615 F.3d 159, 174 (3d Cir. 2010). Denial of leave to amend is

particularly appropriate where, as here, Plaintiff provides no explanation for his failure to assert

these “new” allegations in either his original or amended complaint. Indeed, courts routinely

deny requests to amend complaints under similar circumstances. See, e.g., Cureton v. NCAA,

252 F.3d 267, 273 (3d Cir. 2001) (district court did not abuse its discretion by denying leave to

amend where the motion was filed three years after initial complaint, the information relied on to

support the amended complaint was known over two years earlier, and no justification for the

delay was shown); Rolo v. City Investing Co. Liquidating Trust, 155 F.3d 644, 654-55 (3d Cir.

1998) (rejecting the plaintiffs’ proposed Second Amended Complaint on grounds that the

plaintiffs were simply re-pleading allegations that could have and should have been asserted

earlier); Lorenz v. CSX Corp., 1 F.3d 1406, 1413 (3d Cir. 1993) (district court did not abuse its

discretion by denying leave to amend where “new” factual allegations would not have saved

plaintiff’s claims and plaintiff had numerous earlier opportunities to correct any pleading

deficiencies); Donald J. Trump for President, Inc. v. Sec’y Pennsylvania, 830 F. App’x 377, 386

(3d Cir. 2020) (denial of a motion to amend was proper as it would have the effect of mooting

existing motions to dismiss, require new briefing, and possibly a new oral argument).

        Plaintiff has already had an opportunity to amend, and he offers no explanation as to

why reasonable diligence could not have uncovered this information prior to filing his Amended

Complaint. Plaintiff undoubtedly knew in 2017 that the NFL permitted him to wear a protective

eye shield following his injury and that he had been previously permitted to do so. Yet, Plaintiff

waited 4 years—and 10 months after the NFL’s Motion to Dismiss was fully briefed—to

introduce facts available to him years ago. Plaintiff’s lack of reasonable diligence should not be

rewarded by allowing the clock to restart.



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         Allowing Plaintiff to assert new facts at this stage of the case would also unduly

 prejudice the NFL, who has already fully briefed its motion to dismiss twice and who would

 necessarily be prejudiced by further passage of time, loss of witnesses, and fading memories.

 See Cureton, 252 F.3d at 273 (holding that a party is unduly prejudiced if amendment would

 cause surprise or add cost in the preparation to defend against new facts or theories); Rolo, 155

 F.3d at 655 (finding that duration of case and substantial effort and expense in resolving the

 motion to dismiss would constitute delay or prejudice). Plaintiff’s unwarranted delay should not

 be excused.

         II.     The “New” Evidence Confirms That Plaintiff’s Claims Must Be Dismissed.

         In any event, the “new facts” Plaintiff presents merely confirm that amendment would be

 futile and his claims must be dismissed. An “[a]mendment of the complaint is futile if the

 amendment will not cure the deficiency in the original complaint or if the amended complaint

 cannot withstand a renewed motion to dismiss.” Jablonski v. Pan Am. World Airways, Inc., 863

 F.2d 289, 292 (3d Cir. 1988); see also Foster v. Jet Aviation Flight Servs., Inc., No. CV 18-

 15767 (WJM), 2021 WL 651198, at *4 (D.N.J. Feb. 19, 2021) (denying in part plaintiff’s request

 for leave to amend LAD claims where the proposed new allegations were “conclusory and don’t

 allege sufficient facts, if accepted as true,” to establish liability).

         As explained in the NFL’s Motion, Plaintiff’s claims must be dismissed as preempted

 under the LMRA because they cannot be resolved without determining the parties’ rights and

 obligations under the CBA, both with respect to whether the NFL owed (and breached) a duty of

 care to Plaintiff, and whether Plaintiff can establish a valid claim of disability discrimination in

 light of the Official Playing Rules applicable to his request to wear a face shield. See Mot. (ECF

 No. 26) at 7-16. In his supplemental opposition, Plaintiff argues that because the process for

 obtaining modifications to the equipment rules was followed and the NFL granted Plaintiff


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 approval to wear a protective shield each year he played, questions about who was responsible

 for making the request and what the process required are “moot.” See Pl.’s Suppl. Opp’n (ECF

 No. 39) at 1-2. Therefore, according to Plaintiff, no CBA interpretation is required to resolve his

 claims.

           Plaintiff’s attempt to explain why his “new” factual allegations eliminate the need to

 interpret the CBA only reinforces that his claims are subject to preemption. Plaintiff does not

 dispute that his claims directly implicate the NFL Uniform and Equipment Rules—in fact, he

 now details the process and respective roles of Plaintiff, the NFL, and the Jets for obtaining a

 modification to those rules. But the question of whether the NFL owed or breached a duty to

 Plaintiff when an equipment judge allegedly did not allow Plaintiff to play with the protective

 shield requires consideration of whether that refusal was justified by the rules themselves.

 Plaintiff cannot avoid preemption by declaring that these interpretive questions are “moot.”

 Likewise, Plaintiff’s state law disability discrimination claims are preempted because evaluation

 of the NFL’s alleged discriminatory actions requires analysis of the NFL’s conduct in following

 provisions of the CBA and the respective responsibilities of the various parties to seek approval

 for an accommodation under the CBA and Official Playing Rules. See ECF No. 26 at 13-16.

           Additionally, Plaintiff’s new allegations, if true, are fatal to his failure-to-accommodate

 claim. To state a failure-to-accommodate claim, Plaintiff must plausibly allege he “requested

 accommodations or assistance for [his] disability,” and his “employer made no good faith effort

 to assist.” Fitzgerald v. Shore Mem’l Hosp., 92 F. Supp. 3d 214, 237 (D.N.J. 2015). The NFL’s

 approval of Plaintiff’s request to wear a protective eye shield each year he played in the League

 plainly demonstrates that Plaintiff cannot show a lack of “good faith effort.”

           Accordingly, any effort by Plaintiff to inject these “new” facts into his Amended

 Complaint should be rejected as futile.


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        III.    The New Jersey Supreme Court’s Decision in Richter Does Not Save
                Plaintiff’s Claims.

        Plaintiff’s assertion that the New Jersey Supreme Court’s recent decision in Richter v.

 Oakland Board of Education, 246 N.J. 507 (2021) casts doubt on the NFL’s Motion is equally

 unavailing.2 In Richter, the Court affirmed the Appellate Division’s determination that an

 adverse employment action was not a required element of a failure-to-accommodate claim and

 that the WCA’s exclusive remedy provision did not bar the plaintiff’s claim, which involved a

 bodily injury. Id. Richter does not, however, change the fact that Plaintiff’s claims should be

 dismissed on the three grounds set forth in the NFL’s Motion: (1) Plaintiff’s state law claims are

 preempted by the LMRA (as explained above); (2) Plaintiff’s negligence claim is barred by the

 WCA; and (3) Plaintiff has failed to state a claim for disability discrimination.

        Richter does not impact Plaintiff’s negligence claim, which plainly falls under the

 exclusivity provision of the WCA. Plaintiff cannot save his claim by relying on the “intentional

 wrong” exception to the WCA, as he fails to plausibly allege either that the NFL was

 “substantially certain” Plaintiff’s injury would occur, or that the injury he sustained while

 playing football falls outside the broad scope of the WCA. Moreover, in his supplemental

 opposition, Plaintiff concedes that the NFL did approve his request to wear a protective shield

 for the 2017-2018 season, but “[u]nfortunately,” that approval came four days after the game in

 which Plaintiff was injured. This is precisely the type of accidental workplace injury the WCA

 was intended to cover. See Mot. (ECF No. 26) at 16-19; Evans v. Ariz. Cardinals Football Club,

 LLC, 262 F. Supp. 3d 935, 942 (N.D. Cal. 2017).

        The NFL does not dispute that under Richter, an adverse employment action is not

 required for a failure-to-accommodate claim under the LAD. However, Richter has no bearing


        2
          It should be noted that Plaintiff already briefed the Appellate Division’s opinion
 extensively in his Opposition. See Pl.’s Opp’n (ECF No. 30) at 17-20.
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 on Plaintiff’s disability discrimination claim (Count One) and the fact that Plaintiff suffered no

 tangible adverse employment action as a result of the discrimination he alleges. See Mot. (ECF

 No. 26) at 21-22. Indeed, the Court in Richter acknowledged that denial of an accommodation is

 not an adverse employment action. See Richter, 246 N.J. at 530-31 (explaining that an employer

 may not escape LAD liability for failure to provide an accommodation “simply by declining to

 fire, demote, or take another form of adverse action against the employee.”).

         Finally, Richter does not alter the fact that Plaintiff has otherwise failed to state a failure

 to accommodate claim. See Mot. (ECF No. 26) at 22-23. Plaintiff has failed to plausibly allege

 (as he must) that he “requested accommodations or assistance for [his] disability,” and that the

 NFL “made no good faith effort to assist.” Fitzgerald, 92 F. Supp. 3d at 237 (D.N.J. 2015). As

 explained above, Plaintiff now concedes that the NFL approved his request to wear a protective

 eye shield each year he played in the league—hardly a lack of “good faith effort.”

                                            CONCLUSION

         For the foregoing reasons and as more fully set forth in the NFL’s Motion, Plaintiff’s

 procedurally improper request to introduce “new” facts, or alternatively to amend his complaint

 for a second time, should be denied and Defendant’s Motion to Dismiss should be granted in its

 entirety.

 Dated: September 7, 2021                                   Respectfully submitted,

                                                            /s/ Richard Hernandez
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